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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
       vs.                                             ) Case No. 4:22-CR-39 JAR/PLC
                                                       )
 DRAVANCE BROWN,                                       )
                                                       )
                Defendant.                             )


                     ORDER CONCERNING PRETRIAL MOTIONS

        IT IS HEREBY ORDERED that forthwith the Government shall give notice to

 Defendant of its intention to use specific evidence at trial pursuant to Rule 12(b)(4), Federal Rules

 of Criminal Procedure.

        IT IS FURTHER ORDERED1 that forthwith each party may propound to the opposing

 party, and may file with the Court, any request for pretrial disclosure of evidence or information.

 Not later than December 13, 2022, the parties shall respond to any such requests for pretrial

 disclosure of evidence or information and may file with the Court a copy of any such response.

 To the extent practicable, all such requests for disclosure and the responses thereto shall be

 contained in one request document or in one response document, with each separate item of

 information or evidence discussed being a subpart of said document.

        At the arraignment, Defendant's counsel made a motion for additional time to file pretrial

 motions. Defendant's counsel has not had the opportunity to review discovery, investigate the

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  Any motion for an extension of any of the following deadlines or any request for a continuance
 of a setting shall include information relevant to findings required by the Speedy Trial Act,
 specifically, 18 U.S.C. § 3161(h).
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 evidence, discuss it with Defendant, or decide whether to file pretrial motions. The Court finds

 that to deny Defendant's motion for additional time would deny counsel for Defendant the

 reasonable time necessary for effective investigation and preparation of pretrial motions, taking

 into account the exercise of due diligence, 18 U.S.C. § 3161(h)(7)(B)(iv), and that the ends of

 justice served by granting Defendant's motion for additional time outweigh the best interests of the

 public and Defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Accordingly,

        IT IS FURTHER ORDERED that Defendant's oral Motion for Extension of Time within

 which to file motions is GRANTED.

        IT IS FURTHER ORDERED that the time granted by this Order to review discovery and

 to prepare pretrial motions or a waiver thereof is excluded from computation of the latest date for

 the trial setting as prescribed by the Speedy Trial Act. See 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).

        IT IS FURTHER ORDERED that Defendant shall have until January 23, 2023, to file

 any pretrial motions or waiver of motions. The Government shall have until February 6, 2023,

 to respond.

        IT IS FURTHER ORDERED that any pretrial motion seeking a court order for the

 production of evidence or information from the opposing party, and each motion to suppress

 evidence, shall contain a statement of counsel that movant's counsel has personally conferred with

 counsel for the opposing party about the issue(s) raised in the motion(s), that there is a good faith

 belief that the information or evidence exists about which discovery is sought or which the

 Defendant seeks to have suppressed, and (for motions for disclosure) that the disclosure of said

 information or evidence has been refused by the opposing party. Any motion lacking such

 attestation will not be considered or ruled by the Court.

        IT IS FURTHER ORDERED that any motion to suppress shall set forth, with

 particularity, the item(s) of evidence to which the motion is addressed and shall set forth specific

 factual details to support any claim that such evidence was unlawfully obtained. Any motion to

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 suppress not containing such specific information or any motion cast in conclusory or conjectural

 terms will not be heard or considered by the Court. Each motion to suppress must also include a

 memorandum of law setting forth the specific legal ground upon which it is contended that any

 such item of evidence was unlawfully obtained, with citations to authority. Further, the practice

 of adopting motions filed by other Defendants will not be permitted without prior leave of the

 Court.

          IT IS FURTHER ORDERED that any motion with respect to the sufficiency of an

 indictment or information, including any motion to dismiss, shall set forth specific factual details

 to support the motion. Any motion with respect to the sufficiency of an indictment or information

 that is cast in conclusory or conjectural terms will not be heard or considered by the Court. Any

 such motion must also include a memorandum of law setting forth the specific legal ground(s)

 supporting the motion.

          IT IS FURTHER ORDERED that if Defendant chooses not to file any pretrial motions,

 counsel for Defendant shall file with the Court, not later than January 23, 2023, a memorandum

 attesting that: there are no issues that Defendant wishes to raise by way of pretrial motion; counsel

 has personally discussed this matter with Defendant; and Defendant agrees and concurs in the

 decision not to raise any issues by way of pretrial motions.

          IT IS FURTHER ORDERED that all deadlines set forth in this Order include weekend

 days and holidays. However, if a due date falls on a weekend or holiday, the due date for

 compliance shall be the next business day.

          IT IS FURTHER ORDERED that an evidentiary hearing on any pretrial motions will be

 set at a later date. Defendant is required to be present at the hearing.

          IT IS FURTHER ORDERED that the trial of this matter will be set following the

 conclusion of pretrial proceedings.



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        No extension of any deadline set in this Order will be granted except upon written motion,

 made before the expiration of the deadline, and upon good cause shown. Failure to timely file

 motions or requests, or to request an extension of time to do so, may be considered a waiver of the

 right of a party to make such motions or requests, as set out in Fed. R. Crim. P. 12(c)(3).




                                                       PATRICIA L. COHEN
                                                       UNITED STATES MAGISTRATE JUDGE

 Dated this 8th day of December, 2022




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